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IN THE UNITED STATES DISTRICT COURT HLED BY ‘-- , D-C.
FOR THE WESTERN DISTRICT OF TENNESSEI~BS AUG __" H

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BETTY JONES, ) dqu U:ig'z_ `S;;,;§mmwm mm
) W/D '3 stillan
Plainriff )
)
vs. ) Civil Action No. 04-3052-M1/P
)
MEDEGEN MEDICAL PRODUCTS, )
LLC, )
)
Defendant )

 

AGREED PROTECTIVE ORDER

 

Pursuant to the agreement of the parties, as evidenced by the signatures of counsel
set forth below, the Court enters the following Order regarding Defendant’s production of
documents or information

l. Counsel for Defendant may mark, stamp or otherwise designate documents
or information to be produced as “Confidential”. These designations are to be made in
good faith. It is envisioned that the types of documents and information which would be
designated as confidential are trade secrets, competitively valuable information
employee personnel, medical, workers compensation and accident information, and
documents and information of a similarly sensitive or private nature.

2. Plaintiff and Plaintiffs counsel shall not disclose documents or information

    

designated as confidential, and such documents or information shall not be used for any

 
 

|“his document entered on the docket heat ln compliance
with Hule 55 and/or 32{b) FHCrP on §

 

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purpose other than in connection with the instant litigation

3. Any documents or information designated by Defendant as confidential
must be treated as such until the party objecting to the designation obtains an order from
the Court to the effect that such documents or information are not, in fact, confidential
information

4. At the conclusion of this litigation, including any appeals, Plaintiff’s
counsel shall return to Defendant’s counsel all documents or information designated by

Defendant as confidential
IT IS SO ORDERED.

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M
U"nited State§ Dist-i=i-et Judge
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ACCEPTED AND AGREED:

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Linda Garner
for Defendant for Plaintiff

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-03052 was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Linda Kendall Garner

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Honorable J on McCalla
US DISTRICT COURT

